                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                 Chapter 11

BOY SCOUTS OF AMERICA AND                              Case No. 20-10343 (LSS)
DELAWARE BSA, LLC, 1
                                                       (Jointly Administered)
                         Debtors.



    NOTICE OF SERVICE OF PROPOUNDING INSURERS’ DISCOVERY REQUESTS

         I hereby certify that, on October 8, 2021, true and accurate copies of (1) Propounding

Insurers’ First Set of Interrogatories Directed to the Official Committee of Tort Claimants and (2)

Propounding Insurers’ First Requests for Production of Documents Directed to the Official

Committee of Tort Claimants were served in the manner indicated on the parties identified below.

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          The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’
mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.



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         I hereby certify that, on October 8, 2021, a true and accurate copy of Propounding Insurers’

First Set of Interrogatories Directed to the Debtors was served in the manner indicated on the

parties identified below.

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         I hereby certify that, on October 8, 2021, a true and accurate copy of Propounding Insurers’

First Set of Interrogatories Directed to the Future Claimants’ Representative was served in the

manner indicated on the parties identified below.




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         I hereby certify that, on October 8, 2021, true and accurate copies of (1) Propounding

Insurers’ First Set of Interrogatories Directed to the Ad Hoc Committee of Local Councils and (2)

Propounding Insurers’ First Requests for Production of Documents Directed to the Ad Hoc

Committee of Local Councils were served in the manner indicated on the parties identified below.

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         I hereby certify that, on October 8, 2021, true and accurate copies of (1) Propounding

Insurers’ First Set of Interrogatories Directed to the Zalkin Law Firm, P.C. and Pfau Cochran

Vertetis Amala PLLC and (2) Propounding Insurers’ First Requests for Production of Documents

Directed to the Zalkin Law Firm, P.C. and Pfau Cochran Vertetis Amala PLLC were served in the

manner indicated on the parties identified below.

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